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         Exhibit 13
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From: Dennis Mehiel
Sent: Tuesday, June 9, 2015 5:21 PM
To: Joseph.Caparosa@brookfield.com
CC: Hyman, Shari; McCabe, Kevin
Subject: Access to BPCA Office


Please deny Steven Greer access to the BPCA office at all times. Consistent hostile behavior on his part
has caused our concern for the safety and security of our staff and visitors.

Thanks,
D.




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